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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                              FORT SMITH DIVISION

THE ESTATE OF LARRY EUGENE
PRICE JR., by and through its Special
Administrator, Rodney Price                                                            PLAINTIFF

VS.                                 NO. 2:23-cv-02008-PKH

TURN KEY HEALTH CLINICS, LLC an
Oklahoma Corporation; SEBASTIAN
COUNTY, ARKANSAS; JAWAUN LEWIS, DO;
CHRISTEENA FERGUSON; and J. DOES 1-20                                               DEFENDANTS


                                             ANSWER
       Comes now the Separate County Defendant, Sebastian County, Arkansas (referred to

collectively herein as the Separate County Defendant), and for its Answer to the Plaintiff’s

Complaint (Doc. # 2), do state the following:

       1.      The Separate County Defendant affirmatively pleads that the Plaintiff’s decedent was

arrested on or about August 19, 2020 by officers of the Fort Smith Police Department, that he

remained incarcerated until August 29, 2021, when he died, and that the constitution and laws of

Arkansas and of the United States, the official and authentic records of the arrest of the Plaintiff’s

decedent and all criminal charges and/or court proceedings involving the Plaintiff and/or his

decedent, the official and authentic records of the decedent’s medical care and incarcerations, the

official and authentic records of the investigation(s) into Larry Price’s death and his autopsy (the

Separate County Defendant is not a natural person and has no personal knowledge about the

substance of any of the records and therefore denies the same, reserving the right to take factual

posititons following discvoery in this case), the official and authentic protocols, policies, and

procedures of Turn Key Health and Sebastian County, all inspection reports of the Sebastian County

jail, and the allegations in the Plaintiff’s Complaint speak for themselves (the Separate County

Defendant denies the allegations in the Plaintiff’s Complaint, as set forth herein), that Turn Key

Health Clinics, LLC, is a correctional healthcare company hired by Sebastian County (by contract)

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to provide medical services in the county jail, that Sebastian County is a political subdivision of the

State of Arkansas, and that Dr. Jawaun Lewis and Christeena Ferguson are (and/or were, in 2020-

201) medical professionals employed by Turnkey, but denies, as pleaded, the remainder of the

allegations, and any contrary allegations, including but not limited to the Plaintiff’s characterizations

and mischaracterizations of the facts in his allegations, in paragraphs 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,

12, 13, 14, 15, 16, 17, 18, 19, 22, 23, 24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 37, 38, 39, 40,

41, 42, 43, 44, 45, 46, 47, 48, 49, 50, 51, 52, 53, 54, 55, 56, 57, 58, 59, 60, 61, 62, 63, 64, 65, 66, 67,

68, 69, 70, 71, 72, 73, 74, 75, 76, 77, 78, 79, 80, 81, 82, 83, 84, 85, 86, 87, 88, and 89 of Plaintiff’s

Complaint.
        2.      The Separate County Defendant respectfully demands a trial by jury of twelve (12)

persons on all genuine issues of material fact and join in the Plaintiff’s demand for the same, as set

out in paragraph 90 of the Plaintiff’s Complaint.

        3.       The Separate County Defendant denies the Plaintiff’s entitlement to any relief and

specifically and expressly denies the Plaintiff’s entitlement to the allegations and relief requested

in the unnumbered “Wherefore clause” of the Plaintiff’s Complaint.

        4.      The Separate County Defendant specifically and expressly denies each and every

allegation of Plaintiff’s Complaint not specifically and expressly admitted herein.

        5.      The Separate County Defendant asserts and reserves the right to file an Amended

Answer or other responsive pleading(s) and/or to assert additional affirmative and other defenses

after they have had a chance to investigate the claims and allegations in Plaintiff’s Complaint.

                                    AFFIRMATIVE DEFENSES
        6.      The Separate County Defendant asserts the following affirmative defenses:

                A.      Punitive damages immunity, see City of Newport v. Fact Concerts, Inc., 453

                        U.S. 247, 69 L.Ed.2d 616, 101 S.Ct. 2748 (1981);

                B.      Qualified immunity is affirmatively pleaded by all Defendants under state and

                        federal law, but only as and to the extent that Defendants are sued in their

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                individual capacities;

          C.    Tort immunity and statutory tort immunity, which bar medical negligence,

                wrongful death, and all other tort claims, see Ark. Code Ann. §21-9-301;

          D.    As applicable, the Defendants have no applicable liability insurance, see Ark.

                Code Ann. §21-9-301;

          E.    Sovereign immunity;

          F.    Acquired Immunity Doctrine;

          G.    Statutory vicarious liability/respondeat superior immunity, see Ark. Code

                Ann. §21-9-301;
          H.    The Defendants are not proper parties to a tort action in any event, see Ark.

                Code Ann. § 23-79-210;

          I.    Justification;

          J.    Mootness, as applicable;

          K.    Waiver/Estoppel/Laches;

          L.    Common Defense Doctrine;

          M.    No standing, as applicable,

          N.    Comparative fault and/or contributory negligence, as applicable;

          O.    No proof of causation by any acts or omission of the Defendants;

          P.    Failure of service, defect in service, and failure of timely service, as

                applicable;

          Q.    No subject matter jurisdiction of wrongful death claim, negligence, and/or

                other tort claims;

          R.    The Defendants avail themselves of all applicable defenses under Rule 8(c)

                and 12 of the Federal Rules of Civil Procedure;

          S.    The Plaintiff has failed to state a claim upon which relief can be granted;

          T.    The Defendants avail themselves of all statute of limitations defenses

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                applicable to this claim, including, but not limited to Ark. Code Ann. 16-56-

                101, et seq.;

          U.    The Defendants reserve and preserve the right to assert any available

                counterclaims and/or third-party claims under Fed. R. Civ. Proc. 13 & 14;

          V.    While denying that the Defendants are guilty of, and/or liable for, any

                negligence which caused or contributed to cause injuries to the plaintiff, the

                Defendants pray for an apportionment of fault among joint tortfeasors

                pursuant to the Uniform Contribution Among Joint Tortfeasors Act, as enacted

                in the State of Arkansas. A.C.A. § 16-61-201 et seq.;
          W.    While denying the Defendants are responsible for any damages, Defendants

                state that plaintiff suffered from conditions which predated any events alleged

                in the Complaint for which this defendant is not responsible;

          X.    The Defendants affirmatively plead that, while denying that the Defendant

                are/were guilty of, and/or liable for, any fault which caused or contributed to

                cause the damages in question, the Defendants state that any fault, cause, or

                injury to plaintiff was the fault of the plaintiff, which is pled in bar and

                diminution of any recoveries sought under the principles of comparative fault

                in Arkansas law;

          Y.    While denying that this defendant was guilty of fault in this matter, this

                defendant states that if the jury were to determine that there was fault and/or

                negligence on the part of this defendant, that following such, an intervening

                and/or superseding cause occurred which caused injuries to the plaintiff herein

                over which this defendant had no control, which is pled in defense herein;

          Z.    The Defendants affirmatively plead all relevant and/or governing case,

                constitutional, and/or statutory law;

          AA.   The Defendants affirmatively plead and assert that any claim for punitive

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                damages is pre-empted by the federal statutory and regulatory scheme;

          BB.   The Defendant affirmatively plead that Plaintiff’s claim for punitive damages

                cannot be sustained because an award of punitive damages by a jury does not

                provide constitutionally adequate standards of sufficient clarity for

                determining the appropriate imposition of, and the appropriate size of, a

                punitive damages award;

          CC.   The Defendants affirmatively plead that Plaintiff’s claim for punitive damages

                against the Defendants is barred, in whole or in part, because an award of

                punitive damages would violate the this defendant’s due process rights and
                equal protection rights guaranteed by the Fifth and Fourteenth Amendments

                to the United States Constitution and Article 2, §§ 2, 3, & 8 of the Arkansas

                Constitution;

          DD.   The Defendants affirmatively plead that plaintiff’s claim for punitive damages

                cannot be sustained because the standards for determining liability for and the

                amount of punitive damages fail to gives the Defendant prior notice of the

                conduct for which punitive damages may be imposed, and the severity of the

                penalty that may be imposed, and are void for vagueness in violation of these

                this defendant’s due process rights guaranteed by the Fifth and Fourteenth

                Amendments to the United States Constitution and Article 2, §§ 2, 3, and 8 of

                the Arkansas Constitution;

          EE.   The Defendants affirmatively plead that Plaintiff’s claim for punitive damages

                cannot be sustained because Arkansas law fails to establish necessary

                constitutional procedures to protect against the risk of a jury awarding punitive

                damages, or determining the amount of an award of punitive damages, in

                whole or in part directly on the basis of injury upon non-parties in violation

                of this defendant’s due process rights guaranteed by the Fifth and Fourteenth

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                Amendments to the United States Constitution and Article 2, §§ 2, 3, and 8 of

                the Arkansas Constitution. See Philip Morris USA v. Williams, 549 U.S. 346

                (2007);

          FF.   The Defendants affirmatively assert that Plaintiff’s claims for punitive

                damages against this defendant cannot be sustained, because an award of

                punitive damages under Arkansas law, subject to no predetermined limit, such

                as a maximum multiple of compensatory damages, or a maximum amount on

                the amount of punitive damages that may be imposed, would violate this

                defendant’s due process rights guaranteed by the Fifth and Fourteenth
                Amendments to the United States Constitution and Article 2, §§ 2, 3, and 8 of

                the Arkansas Constitution;

          GG.   The Defendants affirmatively plead that Plaintiff’s claims for punitive

                damages against this defendant cannot be sustained, because an award of

                punitive damages under Arkansas law which allows plaintiff to prejudicially

                emphasize the public entity and/or corporate or professional status of the

                Defendants violates the Defendants’ due process and equal protection rights

                guaranteed by the Fifth and Fourteenth Amendments to the United States

                Constitution and Article 2, §§ 2, 3, and 8 of the Arkansas Constitution, and

                would be improper under the common law and public policy of Arkansas;

          HH.   The defendant affirmatively asserts that plaintiff’s claim for punitive damages

                against this defendant cannot be sustained because any award of punitive

                damages made under a process which fails to bifurcate the issue of punitive

                damages from the remaining issues would violate this defendant’s due process

                rights guaranteed by the Fifth and Fourteenth Amendments to the United

                States Constitution and Article 2, §§ 2, 3, and 8 of the Arkansas Constitution,

                and would be improper under the common law and public policy of Arkansas.

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          II.   The Defendants affirmatively assert that Plaintiff’s claim for punitive damages

                cannot be sustained by a jury that (1) is not provided constitutionally adequate

                standards of sufficient clarity for determining the appropriate imposition of,

                and the appropriate size of, a punitive damages award, (2) is not adequately

                instructed on the limits of punitive damages imposed by the applicable

                principles of deterrence and punishment, (3) is not expressly prohibited from

                awarding punitive damages, or determining the amount of an award for

                punitive damages, in whole or in part on the basis of invidiously

                discriminatory characteristics, including without limitation the residence,
                wealth and corporate status of this defendant, (4) is not expressly prohibited

                from awarding punitive damages, or determining the amount of an award of

                punitive damages, in whole or in part directly on the basis of injury upon non-

                parties, (5) is not provided constitutionally adequate procedures to protect

                against the risk of an award of punitive damages that seeks to punish a

                defendant for having caused injury to others, (6) is permitted to award

                punitive damages under a standard for determining liability for punitive

                damages that is vague and arbitrary and does not define with sufficient clarity

                the conduct or mental state that makes punitive damages permissible, (7) is not

                properly instructed regarding plaintiff’s burden of proof with respect to each

                and every element of a claim for punitive damages, and (7) is not subject to

                trial court and appellate judicial review for reasonableness and furtherance of

                legitimate purposes on the basis of constitutionally adequate and objective

                standards.   This would violate this defendant’s due process and equal

                protection rights guaranteed by the Fifth and Fourteenth Amendments of the

                United States Constitution and Article II, Sections 2, 3 and 8 of the Arkansas

                Constitution, and would be improper under the common law and public policy

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                       of Arkansas;

               JJ.     The Defendants affirmatively assert that plaintiff’s claim for punitive damages

                       cannot be sustained because any award of punitive damages made under a

                       process which fails to protect against the risk of a jury awarding punitive

                       damages, or determining the amount of an award of punitive damages, in

                       whole or in part, to punish this defendant for having caused injury to non-

                       parties would violate the this defendant’s due process rights guaranteed by the

                       Fifth and Fourteenth Amendments to the United States Constitution and

                       Article 2, §§ 2, 3, and 8 of the Arkansas Constitution, and would be improper
                       under the common law and public policy of Arkansas. See Philip Morris USA

                       v. Williams, 549 U.S. 346 (2007);



       WHEREFORE, the Defendants respectfully request that Plaintiff’s Complaint be dismissed.

and for any and all other just and proper relief to which they are entitled.



                                               Respectfully submitted,

                                               Sebastian County, Arkansas
                                               Separate Defendant


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